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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

LERIN PIERCE,

Plaintiff-Appellant,
NOTICE OF APPEAL
vs.
16-5703 (R.JB)
CITY OF NEW YORK, IVAN MERCADO
AND SONIA BELARDO,

Defendants-Appellees,
and IVAN TAQI,

Defendant.

 

NOTICE IF GIVEN that Plaintiff, Lerin Pierce, appeals to the United States Court of
Appeals for the Second Circuit from the Judgment of the District Court of the Eastern District of
New York, dated May 16, 2018 (entered May 22, 2019). This final judgment brings up on review
part of the judgment, i.e., Memorandum Decision and Order of J udge Brian M. Cogan dated
December 11, 2017. This order that vacated the jury verdict in favor of plaintiff granted a new
trial for defendant Belardo under F. Rule Civ. Pro. 59; dismissed defendant Mercado from the
action under F.R.C.P. 50; and held that other pending motions were moot and therefore denied

them. The jury’s dismissal of the claims against Ivan Taqi are not part of this appeal.

 

 

Dated: New York, New York Dated: Glendale, New York
2 24 May 2019 24 May 2019

esi —_——— /s/

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